        Case 16-81243-TLS                   Doc 103       Filed 09/02/16 Entered 09/02/16 15:12:20                               Desc Main
                                                         Document     Page 1 of 34
 Fill in this information to identify the case and this filing:


                 Planet Merchant Processing, Inc.
 Debtor Name __________________________________________________________________

                                                                               Nebraska
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):     16-81243
                            _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         x
             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         x
             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         x
             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         x
             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
         x
             Schedule H: Codebtors (Official Form 206H)

         x
             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____

         x
             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.

                           9/2/16
        Executed on ______________                               s/Dennis O'Brien
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  Dennis O'Brien
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 President
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
            Case 16-81243-TLS                                  Doc 103               Filed 09/02/16 Entered 09/02/16 15:12:20                                                               Desc Main
                                                                                    Document     Page 2 of 34

 Fill in this information to identify the case:

                       Planet Merchant Processing, Inc.
 Debtor name ____________________________ _____ _____ _____ ______ _____ _____ _____ _


 United States Bankruptcy Court f or the: _______________________ District of ________
                                                                                                                Nebraska
                                                                                                                 (State)
 Case number (If known):                   16-81243
                                      _________________________


                                                                                                                                                                                                 Check if this is an
                                                                                                                                                                                                   amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                         12/15




Part 1:          Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a.   Real property:
                                                                                                                                                                                                   0.00
                                                                                                                                                                                                $ ________________
           Copy line 88 from Schedule A/B .....................................................................................................................................

     1b.   Total personal property:                                                                                                                                                             $ 784,001.00 plus
                                                                                                                                                                                                intangibles and
           Copy line 91A from Schedule A/B...................................................................................................................................                   intellectual property
                                                                                                                                                                                                ________________
     1c. Total of all property:                                                                                                                                                                    784,001.00
                                                                                                                                                                                                $ ________________
           Copy line 92 from Schedule A/B .....................................................................................................................................                   plus intangibles
                                                                                                                                                                                                  and intellectual
                                                                                                                                                                                                  property


Part 2:          Summary of Liabilities




     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                   0.00
2.
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D..............................................                                                  $ ________________


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a.   Total claim am ounts of priority unsecured claim s:
           Copy the total claims from Part 1 from line 5a of Schedule E/F ....................................................................................
                                                                                                                                                                                                  0.00
                                                                                                                                                                                                $ ________________


     3b.   Total am ount of claims of nonpriority am ount of unsecured claims:
                                                                                                                                                                                            +    12,165,186.00
                                                                                                                                                                                                $ ________________
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .........................................................




4.   Total liabilities...................................................................................................................................................................         12,165,186.00
                                                                                                                                                                                                $ ________________
     Lines 2 + 3a + 3b




 Official Form 206Sum                                       Sum m ary of Assets and Liabilities for Non-Individuals                                                                                  page 1
          Case 16-81243-TLS                       Doc 103    Filed 09/02/16 Entered 09/02/16 15:12:20                              Desc Main
                                                            Document     Page 3 of 34
  Fill in this information to identify the case:

               PLANET MERCHANT PROCESSING, INC.
  Debtor name __________________________________________________________________

                                                                            Nebraska
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                              (State)
  Case number (If known):     16-81243
                              _________________________                                                                               Check if this is an
                                                                                                                                         amended filing


Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                  12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.


For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:     Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

         No. Go to Part 2.
   
   X      Yes. Fill in the information below.

    All cash or cash equivalents owned or controlled by the debtor                                                                 Current value of debtor’s
                                                                                                                                   interest

2. Cash on hand                                                                                                                   $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)                 Type of account                 Last 4 digits of account number
         Five Points Bank
   3.1. _________________________________________________   Checking
                                                          ______________________                7
                                                                                                ____ ____ 4 5
                                                                                                      6 ____   ____                 55,696
                                                                                                                                  $______________________
   3.2. _________________________________________________ ______________________                ____ ____ ____ ____               $______________________


4. Other cash equivalents (Identify all)
   4.1. _____________________________________________________________________________________________________                     $______________________
   4.2. _____________________________________________________________________________________________________                     $______________________

5. Total of Part 1                                                                                                                  55,696
                                                                                                                                  $_________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Part 2:     Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

         No. Go to Part 3.
   
   X      Yes. Fill in the information below.
                                                                                                                                    Current value of
                                                                                                                                    debtor’s interest
7. Deposits, including security deposits and utility deposits

   Description, including name of holder of deposit
   7.1. ________________________________________________________________________________________________________                   $______________________
   7.2._________________________________________________________________________________________________________                   $_______________________


  Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                                  page 1
          Case 16-81243-TLS                    Doc 103      Filed 09/02/16 Entered 09/02/16 15:12:20 Desc Main
Debtor         PLANET MERCHANT PROCESSING, INC.            Document
               _______________________________________________________  Page 4 of 34                       16-81243
                                                                                  Case number (if known)_____________________________________
               Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment
          Dell Marketing, L.P.
   8.1._____________________________________________________________________________________________                                 22,050
                                                                                                                                  $______________________
   8.2.__________________________________________________________________________________________________________                 $_______________________
   _
9. Total of Part 2.                                                                                                                 22,050
                                                                                                                                 $______________________
   Add lines 7 through 8. Copy the total to line 81.



Part 3:    Accounts receivable

10. Does the debtor have any accounts receivable?

     No. Go to Part 4.
    
    X Yes. Fill in the information below.
                                                                                                                                  Current value of debtor’s
                                                                                                                                  interest
11. Accounts receivable

    11a. 90 days old or less:     409,856
                                 ____________________________ – ___________________________          = ........                       409,856
                                                                                                                                 $______________________
                                  face amount                   doubtful or uncollectible accounts

    11b. Over 90 days old:        ___________________________ – ___________________________          = ........                 $______________________
                                   face amount                  doubtful or uncollectible accounts


12. Total of Part 3                                                                                                                  409,856
                                                                                                                                 $______________________
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:    Investments

13. Does the debtor own any investments?
    
    X No. Go to Part 5.
     Yes. Fill in the information below.
                                                                                                        Valuation method          Current value of debtor’s
                                                                                                        used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
   Name of fund or stock:
   14.1. ________________________________________________________________________________               _____________________    $________________________
   14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

   Name of entity:                                                                 % of ownership:
   15.1._______________________________________________________________            ________%            _____________________    $________________________
   15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
 Describe:
   16.1.________________________________________________________________________________                ______________________   $_______________________
   16.2.________________________________________________________________________________                ______________________   $_______________________



17. Total of Part 4
                                                                                                                                 $______________________
    Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                 page 2
          Case 16-81243-TLS                 Doc 103        Filed 09/02/16 Entered 09/02/16 15:12:20 Desc Main
Debtor           PLANET MERCHANT PROCESSING, INC.         Document
                _______________________________________________________Page 5 of 34                        16-81243
                                                                                 Case number (if known)_____________________________________
                Name




Part 5:    Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
    X No. Go to Part 6.
    
     Yes. Fill in the information below.
     General description                            Date of the last      Net book value of    Valuation method used     Current value of
                                                    physical inventory    debtor's interest    for current value         debtor’s interest
                                                                          (Where available)
19. Raw materials
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________

20. Work in progress
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________

21. Finished goods, including goods held for resale
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________

22. Other inventory or supplies
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________


23. Total of Part 5                                                                                                     $______________________
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
         No
         Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

         No
         Yes. Book value _______________        Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
         No
         Yes

Part 6:    Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
    X No. Go to Part 7.
    
     Yes. Fill in the information below.
      General description                                                 Net book value of    Valuation method used     Current value of debtor’s
                                                                          debtor's interest    for current value         interest
                                                                          (Where available)
28. Crops—either planted or harvested
   ______________________________________________________________          $________________    ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish
   ______________________________________________________________          $________________    ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)
   ______________________________________________________________          $________________    ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed
   ______________________________________________________________          $________________    ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6

   ______________________________________________________________          $________________    ____________________    $______________________


Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                          page 3
          Case 16-81243-TLS                 Doc 103          Filed 09/02/16 Entered 09/02/16 15:12:20 Desc Main
                PLANET MERCHANT PROCESSING, INC.
                                         Document                        Page 6 of 34                        16-81243
Debtor         _______________________________________________________             Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                            $______________________
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

     No
     Yes. Is any of the debtor’s property stored at the cooperative?
       No
       Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

     No
     Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

     No
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     No
     Yes

Part 7:    Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
    
    X Yes. Fill in the information below.


   General description                                                        Net book value of    Valuation method          Current value of debtor’s
                                                                              debtor's interest    used for current value    interest
                                                                              (Where available)

39. Office furniture
   ______________________________________________________________              $________________   ____________________     $______________________

40. Office fixtures

   ______________________________________________________________              $________________   ____________________     $______________________

41. Office equipment, including all computer equipment and
    communication systems equipment and software
      See Attachment "A"                                                         267,230
                                                                               $________________   Estimated Book Value
                                                                                                   ____________________       296,399
                                                                                                                            $______________________
   __________________________________

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
   42.1___________________________________________________________             $________________    ____________________    $______________________
   42.2___________________________________________________________             $________________    ____________________    $______________________
   42.3___________________________________________________________             $________________    ____________________    $______________________

43. Total of Part 7.
                                                                                                                              296,399
                                                                                                                            $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     No
    
    X Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

    
    X No
     Yes

Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                            page 4
          Case 16-81243-TLS                 Doc 103        Filed 09/02/16 Entered 09/02/16 15:12:20 Desc Main
 Debtor
                PLANET MERCHANT PROCESSING, INC.
                                          Document
                _______________________________________________________Page 7 of 34                       16-81243
                                                                                 Case number (if known)_____________________________________
                Name




Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

    
    X No. Go to Part 9.

     Yes. Fill in the information below.

   General description                                                     Net book value of    Valuation method used    Current value of
                                                                           debtor's interest    for current value        debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
   HIN, or N-number)


47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

   47.1___________________________________________________________          $________________   ____________________    $______________________

   47.2___________________________________________________________          $________________   ____________________    $______________________

   47.3___________________________________________________________          $________________   ____________________    $______________________

   47.4___________________________________________________________          $________________   ____________________    $______________________


48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.1__________________________________________________________          $________________    ____________________    $______________________

   48.2__________________________________________________________          $________________    ____________________    $______________________

49. Aircraft and accessories

   49.1__________________________________________________________          $________________    ____________________    $______________________

   49.2__________________________________________________________          $________________    ____________________    $______________________

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

   ______________________________________________________________          $________________    ____________________    $______________________


51. Total of Part 8.
                                                                                                                        $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         No
         Yes




 Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                        page 5
          Case 16-81243-TLS                     Doc 103           Filed 09/02/16 Entered 09/02/16 15:12:20 Desc Main
 Debtor
                  PLANET MERCHANT PROCESSING, INC.
                                           Document
                 _______________________________________________________      Page 8 of 34                       16-81243
                                                                                        Case number (if known)_____________________________________
                 Name




Part 9:      Real property

54. Does the debtor own or lease any real property?
     
     X No. Go to Part 10.
      Yes. Fill in the information below.
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

      Description and location of property                   Nature and extent        Net book value of        Valuation method used    Current value of
      Include street address or other description such as    of debtor’s interest     debtor's interest        for current value        debtor’s interest
      Assessor Parcel Number (APN), and type of property     in property              (Where available)
      (for example, acreage, factory, warehouse, apartment
      or office building), if available.

      55.1________________________________________            _________________       $_______________         ____________________     $_____________________

      55.2________________________________________            _________________       $_______________         ____________________     $_____________________

      55.3________________________________________            _________________       $_______________         ____________________     $_____________________

      55.4________________________________________            _________________       $_______________         ____________________     $_____________________

      55.5________________________________________            _________________       $_______________         ____________________     $_____________________

      55.6________________________________________            _________________       $_______________         ____________________     $_____________________


56. Total of Part 9.
                                                                                                                                        $_____________________
     Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
          No
          Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
          No
          Yes

Part 10: Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
      No. Go to Part 11.
     
     X Yes. Fill in the information below.
    General description                                                              Net book value of        Valuation method         Current value of
                                                                                      debtor's interest        used for current value   debtor’s interest
                                                                                      (Where available)
60. Patents, copyrights, trademarks, and trade secrets
           See Attachment "B"
     ______________________________________________________________                    $_________________      ______________________      TBD
                                                                                                                                        $____________________

61. Internet domain names and websites
     ______________________________________________________________                    $_________________      ______________________    $____________________

62. Licenses, franchises, and royalties
     ______________________________________________________________                    $_________________      ______________________    $____________________

63. Customer lists, mailing lists, or other compilations
     ______________________________________________________________                    $_________________      ______________________    $____________________

64. Other intangibles, or intellectual property
access______________________________________________________________
       to software professionals who substantially increase the value of Debtor's software $________________   _____________________      TBD
                                                                                                                                        $____________________
65. Goodwill
     ______________________________________________________________                    $________________       _____________________        TBD
                                                                                                                                        $____________________

66. Total of Part 10.                                                                                                                       TBD
                                                                                                                                        $____________________
     Add lines 60 through 65. Copy the total to line 89.




 Official Form 206A/B                                           Schedule A/B: Assets  Real and Personal Property                                  page 6
         Case 16-81243-TLS                        Doc 103    Filed 09/02/16 Entered 09/02/16 15:12:20 Desc Main
Debtor          PLANET MERCHANT PROCESSING, INC.            Document
                _______________________________________________________  Page 9 of 34                     16-81243
                                                                                   Case number (if known)_____________________________________
                Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    X
        No
        Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    X
        No
        Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    X
        No
        Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
    X
         No. Go to Part 12.

         Yes. Fill in the information below.
                                                                                                                                    Current value of
                                                                                                                                      debtor’s interest
71. Notes receivable
    Description (include name of obligor)
                                                                     _______________     –   __________________________         =   $_____________________
    ______________________________________________________
                                                                     Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

    Description (for example, federal, state, local)

                                                                                                           Tax year ___________      $____________________
    _________________________________________________________________________________
                                                                                                           Tax year ___________      $____________________
    _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                   $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                   $_______________________
    Nature of claim                   ___________________________________

    Amount requested                  $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                   $_______________________

    Nature of claim                   ___________________________________

    Amount requested                  $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                    $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                      $_____________________
   ____________________________________________________________                                                                      $_____________________

78. Total of Part 11.
                                                                                                                                     $____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
        No
        Yes

Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                    page 7
           Case 16-81243-TLS                            Doc 103               Filed 09/02/16 Entered 09/02/16 15:12:20 Desc Main
                   PLANET MERCHANT PROCESSING, INC.
                                            Document                                     Page 10 of Case
                                                                                                     34 number (if known)_____________________________________
Debtor            _______________________________________________________                                                   16-81243
                  Name




Part 12:         Summary



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                                Current value of                         Current value
                                                                                                       personal property                        of real property
                                                                                                            55,696
                                                                                                         $_______________
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.

                                                                                                           22,050
                                                                                                         $_______________
81. Deposits and prepayments. Copy line 9, Part 2.

                                                                                                           409,856
                                                                                                         $_______________
82. Accounts receivable. Copy line 12, Part 3.


83. Investments. Copy line 17, Part 4.                                                                   $_______________


84. Inventory. Copy line 23, Part 5.                                                                     $_______________


85. Farming and fishing-related assets. Copy line 33, Part 6.                                            $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                            296,399
                                                                                                         $_______________
     Copy line 43, Part 7.

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                            $_______________


88. Real property. Copy line 56, Part 9. . .....................................................................................               $________________

                                                                                                             TBD
89. Intangibles and intellectual property. Copy line 66, Part 10.                                        $_______________


90. All other assets. Copy line 78, Part 11.                                                       +    __ ___________


                                                                                                              784,001 plus
91. Total. Add lines 80 through 90 for each column. ............................ 91a.                    $ ____________
                                                                                                              intangibles and
                                                                                                                                     +   91b.
                                                                                                                                                $________________

                                                                                                              intellectual
                                                                                                              property

                                                                                                                                                                        784,001 plus
                                                                                                                                                                    $__________________
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ..............................................................................................
                                                                                                                                                                                intangibles
                                                                                                                                                                                and
                                                                                                                                                                                intellectual
                                                                                                                                                                                property




Official Form 206A/B                                                       Schedule A/B: Assets  Real and Personal Property                                                page 8
Case 16-81243-TLS           Doc 103 FiledAttachment
                                          09/02/16 Entered
                                                    "A"     09/02/16 15:12:20                         Desc Main
                                   Document    Page 11 of 34
                                             Planet Merchant Processing BK16-81243
                                  Part 7 - Office Furniture, fixtures, and equipment
                                                      August 2016

 Computer Equipment

                                                                             Estimated Book    Estimated Net Book
              Description                          Ref.   Book Cost/Exp
                                                                                 Value %             Value
         1    Laptop Computer                      A-1           1,747.52          25%                     436.88
         2    Laptop Computer                      A-2           1,990.60          25%                     497.65
         3    Laptop Computer                      A-3           2,431.00          25%                     607.75
         4    Laptop Computer                      A-4           1,084.49          25%                     271.12
         5    Desktop Computer                     A-5           2,733.77          25%                     683.44
         6    Laptop Computer                      A-6           2,733.77          25%                     683.44
         7    Laptop Computer                      A-7           2,122.23          25%                     530.56
         8    Laptop Computer                      A-8           2,122.23          25%                     530.56
         9    Laptop Computer                      A-9           2,122.23          25%                     530.56
         10   Laptop Computer                      A-10          2,122.23          25%                     530.56
         11   Laptop Computer                      A-11          2,213.82          25%                     553.46
         12   Laptop Computer                      A-12          2,168.46          25%                     542.12
         13   Laptop Computer - replacement        A-13          2,354.76          25%                     588.69
         14   Laptop Computer                      A-14          2,168.46          25%                     542.12
         15   Laptop Computer                      A-15          2,168.46          25%                     542.12
         16   Laptop Computer                      A-16          2,329.72          25%                     582.43
         17   Laptop Computer                      A-17          1,958.00          25%                     489.50
         18   Laptop Computer                      A-18          1,958.00          25%                     489.50
         19   Laptop Computer                      A-19          1,958.00          25%                     489.50
         20   Laptop Computer                      A-20          1,958.00          25%                     489.50
         21   Laptop Computer                      A-21          1,958.00          25%                     489.50
         22   Laptop Computer                      A-22          2,471.67          25%                     617.92
         23   Laptop Computer                      A-23          2,168.46          25%                     542.12
         24   Desktop Computer                     A-24          2,168.46          25%                     542.12
         25   Laptop Computer                      A-25          2,147.86          25%                     536.97
         26   Laptop Computer                      A-26          2,011.81          25%                     502.95
         27   Laptop Computer                      A-27          2,015.24          25%                     503.81
         28   Laptop Computer                      A-28          2,147.86          25%                     536.97
         29   Laptop Computer - replacement        A-29            534.78          25%                     133.70
         30   Desktop Computer                     A-30          1,187.50          25%                     296.88
         31   Desktop Computer                     A-31          2,147.86          25%                     536.97
       * 32   Printer Ops Room                     A-32            283.54      Straight Line                42.52
       * 33   Cabling for OPS Room                 A-33          1,943.12      Straight Line                  -
       * 34   Server                               A-34          7,458.21      Straight Line                  -
       * 35   Security Camera                      A-35            569.30      Straight Line                  -
       * 36   Security Equipment                   A-36          3,188.26      Straight Line                  -
       * 37   UPS for Server Room                  A-37          5,563.97      Straight Line             1,390.99
       * 38   Emergent SX San Storage              A-38         32,765.00      Straight Line            15,472.36
       * 39   Poweredge M620 Blade Server          A-39         13,325.42      Straight Line            10,364.22
         40   Storage ICADS Archival               A-40          1,296.25          25%                     324.06
         41   Direct Storage & Network Modules     A-41          2,061.84          25%                     515.46
         42   PCOIP Accelerator Cards - 2015       A-42          5,685.87          66%                   3,752.67
         43   Equipment for OPS Room               A-43          1,618.55          25%                     404.64
       * 44   Computers - 3                        A-44         10,834.82      Straight Line                  -
         45   Laptops - 3 - 4/2013                 A-45          6,179.64           0%                     343.31
       * 46   Laptops - 3 - 9/2013                 A-46          6,443.57      Straight Line             1,252.91
         47   Laptops - 5 - 9/2013                 A-47         10,419.66          25%                   2,604.92
         48   Laptop - 9/2014                      A-48            633.08          50%                     316.54
         49   Laptop - 1/2013                      A-49          1,709.05           0%                        -
         50   Monitors - 5 - 2013                  A-50          1,724.73          25%                     431.18
         51   Monitors - 2 - 2015                  A-51            817.99          50%                     409.00
         52   Monitors - 2 - 2015                  A-52            817.99          50%                     409.00
         53   Monitors - 2 - 2015                  A-53            793.04          50%                     396.52
Case 16-81243-TLS               Doc 103 Filed 09/02/16 Entered 09/02/16 15:12:20                                     Desc Main
                                       Document    Page 12 of 34
                                                    Planet Merchant Processing
                                         Part 7 - Office Furniture, fixtures, and equipment
                                                             August 2016

 Computer Equipment

                                                                                         Estimated Book       Estimated Net Book
                  Description                                Ref.    Book Cost/Exp
                                                                                             Value %                Value
            54    Monitors - 11 - 9/2013                    A-54           4,145.43           25%                       1,036.36
            55    Monitors - 3 - 2012                       A-55           1,032.82            0%                            -
            56    Monitors - 2 - 2015                       A-56           1,091.98           50%                         545.99
            57    Monitors - 2- 2014                        A-57             667.64           25%                         166.91
            58    Monitors - 2 - 2015                       A-58             681.62           50%                         340.81
            59    Monitors - 2 - 2014                       A-59             617.58           25%                         154.40
            60    Monitors - 2 - 2014                       A-60             633.08           25%                         158.27
            61    Monitors - 1 - 2014                       A-61             442.12           25%                         110.53
            62    Monitors - 1 - 2014                       A-62           1,235.17           25%                         308.79
            63    Monitors - 3 - 2012                       A-63             479.09            0%                            -
            64    Monitors - 1 - 2014                       A-64             324.98           25%                          81.25
            65    Monitors - 6 - 2013                       A-65           2,026.72           25%                         506.68
                                              SUB-TOTAL                  192,916.38                                    57,691.58

  Furniture & Fixtures

                                                                                         Estimated Book       Estimated Net Book
                  Description                                Ref.    Book Cost/Exp
                                                                                             Value %                Value
         * 66     Office Reconfiguration                    A-66            8,440.27       Straight Line                4,923.50


 Software

                                                                                         Estimated Book       Estimated Net Book
                  Description                                Ref.    Book Cost/Exp
                                                                                             Value %                Value
         * 67     Software                                  A-67          954,398.68       Straight Line              233,784.27

                                                  TOTAL      (X)      1,155,755.33                                  296,399.35

 Recap
                                                                                         Estimated Book       Estimated Net Book
                                                                     Book Cost/Exp
                                                                                             Value %                Value
            Assets Capitalized on Books                                 1,073,977.77       Straight Line              674,877.75
            Assets disposed of not removed from Books
            (note depreciation not booked for 2014, 2015
            and 2016)                                                     (28,763.61)         Straight Line         (407,646.98)
            Assets remaining in service                     (Y)         1,045,214.16      Straight Line              267,230.77
            Assets expensed but still in service         (X-Y)=(Z)        110,541.17     Estimated Book               29,168.58

            Check totals                                    (Y+Z)       1,155,755.33                                 296,399.35

 Note - The designation of "Straight Line" is actual book value reported on Financials
Case 16-81243-TLS       Doc 103 Filed 09/02/16 Entered 09/02/16 15:12:20              Desc Main
                               Document    Page 13 of 34


                                         Attachment "B"

Debtor: Planet Merchant Processing, Inc.                           Case Number: 16-81243


Part 10: Intangibles and intellectual property

60. Patent's copyrights, trademarks, and trade secrets:
   1. Acquire360 - an industry and regulatory compliant merchant accounting and settlement
      solution enabling merchant acquirers to process and submit card transactions directly to
      the card brands for settlement and funding.
   2. E360 - supports the retrieval, chargeback, arbitration and compliance processes
      associated with the disputes between cardholders and merchants. The application is
      fully integrated with Acquire360.
   3. Transaction Reject & Repair ("TRR") application - application automates and simplifies
      the ability to retrieve, repair and resubmit rejected transactions on behalf of a merchant.
   4. Balance Reconciliation ("BR") system - system provides the ability to obtain the
      processing totals needed to validate the financial impact of incoming capture files,
      association incoming and outgoing files, rejected transactions, merchant payment
      (ACH), deposits and adjustments processed by A360.
           Case 16-81243-TLS                          Doc 103 Filed 09/02/16 Entered 09/02/16 15:12:20                                             Desc Main
                                                             Document    Page 14 of 34
  Fill in this information to identify the case:

                  Planet Merchant Processing, Inc.
  Debtor name __________________________________________________________________
  United States Bankruptcy Court for the: ______________________ District of _________  Nebraska
                                16-81243
                                                                                        (State)

  Case number (If known):      _________________________
                                                                                                                                                      Check if this is an
                                                                                                                                                         amended filing
 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
    X No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
    
     Yes. Fill in all of the information below.
 Part 1:       List Creditors Who Have Secured Claims
                                                                                                                                Column A                Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
2.1 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     __________________________________________
                                                                ___________________________________________________ $__________________                 $_________________

    Creditor’s mailing address                                  ___________________________________________________

     ________________________________________________________   ___________________________________________________
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                   No
                                                                   Yes

    Date debt was incurred __________________                   Is anyone else liable on this claim?
    Last 4 digits of account
                                                                   No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.
     No                                                           Contingent
     Yes. Specify each creditor, including this creditor,         Unliquidated
             and its relative priority.                            Disputed
             ___________________________________
             ___________________________________

2.2 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     __________________________________________                 ___________________________________________________ $__________________                 $_________________

    Creditor’s mailing address                                  ___________________________________________________
     ________________________________________________________   ___________________________________________________
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                   No
                                                                   Yes

    Date debt was incurred __________________                   Is anyone else liable on this claim?
    Last 4 digits of account
                                                                   No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
             priority?                                             Disputed
            No. Specify each creditor, including this
                  creditor, and its relative priority.
                  _________________________________
                  _________________________________
            Yes. The relative priority of creditors is
                  specified on lines _____

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                 $________________
    Page, if any.


   Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                        1
                                                                                                                                                           page 1 of ___
            Case 16-81243-TLS                Doc 103 Filed 09/02/16 Entered 09/02/16 15:12:20                                                     Desc Main
   Fill in this information to identify the case:   Document    Page 15 of 34

   Debtor            Planet Merchant Processing, Inc.
                    __________________________________________________________________
                                                                               Nebraska
   United States Bankruptcy Court for the: ______________________ District of __________
                                                                                              (State)
   Case number        16-81243
                     ___________________________________________
    (If known)

                                                                                                                                                    Check if this is an
                                                                                                                                                      amended filing
  Official Form 206E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Part 1:         List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
    x
        No. Go to Part 2.
        Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                       Total claim                 Priority amount
2.1 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                              Contingent
                                                                             Unliquidated
    ___________________________________________                              Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.2 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                              Contingent
                                                                             Unliquidated
    ___________________________________________                              Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.3 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                              Contingent
                                                                             Unliquidated
    ___________________________________________                              Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)




  Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                    4
                                                                                                                                                        page 1 of ___
           CasePlanet
                 16-81243-TLS           Doc 103 Inc.
                         Merchant Processing,          Filed 09/02/16 Entered 09/02/16 15:12:20          16-81243 Desc Main
  Debtor      _______________________________________________________
              Name                                 Document           Page 16 of Case
                                                                                  34 number (if known)_____________________________________
 Part 2:    List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim

3.1 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:       152,814
                                                                                                                           $________________________________
      Planet Correspondence Technologies, Inc.
                                                                           Check all that apply.
    ____________________________________________________________
                                                                              Contingent
      407 North 117th Street                                                  Unliquidated
    ____________________________________________________________              Disputed
      Omaha, NE 68154
    ____________________________________________________________
                                                                                                   Money Loaned
                                                                           Basis for the claim: _______________________

    Date or dates debt was incurred
                                                 various
                                               ___________________         Is the claim subject to offset?
                                                                           X
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                                                                             12,012,372
                                                                                                                           $________________________________
     Planet Group, Inc.
    ____________________________________________________________
                                                                           Check all that apply.
                                                                              Contingent
     407 North 117th Street
    ____________________________________________________________
                                                                           
                                                                           
                                                                               Unliquidated
                                                                               Disputed
     Omaha, NE 68154
                                                                                                   Money Loaned
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

                                                                           Is the claim subject to offset?
                                                                           x
    Date or dates debt was incurred            ___________________
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.3 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                              Contingent
                                                                              Unliquidated
    ____________________________________________________________              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                              Contingent
                                                                              Unliquidated
    ____________________________________________________________              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                              Contingent
    ____________________________________________________________
                                                                              Unliquidated
                                                                              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                              Contingent
    ____________________________________________________________
                                                                              Unliquidated
                                                                              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes



    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                              page 2      4
                                                                                                                                                       __ of ___
              CasePlanet
                    16-81243-TLS           Doc 103 Inc.
                           Merchant Processing,           Filed 09/02/16 Entered 09/02/16 15:12:20         16-81243 Desc Main
  Debtor         _______________________________________________________
                 Name                                 Document           Page 17 of Case
                                                                                     34 number (if known)_____________________________________
Part 3:              List Others to Be Notified About Unsecured Claims


4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



            Name and mailing address                                                                           On which line in Part 1 or Part 2 is the   Last 4 digits of
                                                                                                               related creditor (if any) listed?          account number, if
                                                                                                                                                          any

4.1.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.2.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.3.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.4.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

41.                                                                                                            Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.5.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.6.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.7.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.8.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.9.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.10.                                                                                                          Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.11.
                                                                                                               Line _____

                                                                                                               
         ___________________________________________________________________________________________________
                                                                                                                   Not listed. Explain ________________   ___ ___ ___ ___
         _________________________________________________________________
                                                                                                                   _________________________________
         _________________________________________________________________




       Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                      3 of ___
                                                                                                                                                                   page __    4
 Debtor
          CasePlanet
                16-81243-TLS           Doc 103 Filed
                        Merchant Processing,          Inc. 09/02/16
             _______________________________________________________
                                                                         Entered 09/02/16 15:12:20      16-81243Desc Main
             Name                                 Document           Page 18 of Case
                                                                                 34 number (if known)_____________________________________
Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                           Total of claim amounts



5a. Total claims from Part 1                                                                   5a.           0.00
                                                                                                           $_____________________________




5b. Total claims from Part 2                                                                   5b.   +       12,165,186.00
                                                                                                           $_____________________________




5c. Total of Parts 1 and 2
                                                                                               5c.            12,165,186.00
                                                                                                           $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                           4 of ___
                                                                                                                                    page __    4
           Case 16-81243-TLS                  Doc 103 Filed 09/02/16 Entered 09/02/16 15:12:20                                        Desc Main
                                                     Document    Page 19 of 34
 Fill in this information to identify the case:

                 Planet Merchant Processing, Inc.
 Debtor name __________________________________________________________________

 United States Bankruptcy Court for the:______________________ District of    Nebraska
                                                                              _______
                                                                              (State)
 Case number (If known):    16-81243
                            _________________________                          11
                                                                     Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       X
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease


         State what the contract or        Debtor provides
                                          ____________________________________               Merchant Services Inc
                                                                                           _________________________________________________________
 2.1     lease is for and the nature       software license and services
                                          ____________________________________               515 Broadhollow Road
                                                                                           _________________________________________________________
         of the debtor’s interest
                                                                                             Melville, NY 11747
                                                                                           _________________________________________________________
         State the term remaining           upon termination per contract
                                          ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       Debtor provides
                                          ___________________________________                TransFirst, LLC
                                                                                           _________________________________________________________
 2.2     lease is for and the nature
         of the debtor’s interest
                                          software license and services
                                          ____________________________________               12202 Airport Way, Suite 100
                                                                                           _________________________________________________________
                                                                                             Bloomfield, CO 80021
                                                                                           _________________________________________________________
         State the term remaining          upon termination per contract
                                          ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or        Debtor provides
                                          ____________________________________               First American Payment Systems, L.P.
                                                                                           _________________________________________________________
 2.3     lease is for and the nature       software license and services
                                          ____________________________________               201 Main Street, Suite 1000
                                                                                           _________________________________________________________
         of the debtor’s interest
                                                                                             Ft. Worth, TX 76102
                                                                                           _________________________________________________________
         State the term remaining           upon termination per contract
                                          ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or        Debtor provides
                                          ____________________________________
                                                                                             SecureNet Payment Systems, LLC
                                                                                           _________________________________________________________
 2.4
         lease is for and the nature       software license and services
                                          ____________________________________
                                                                                             6011 Executive Boulevard, Suite 201
                                                                                           _________________________________________________________
         of the debtor’s interest
                                                                                             Rockville, MD 20852
                                                                                           _________________________________________________________
         State the term remaining           upon termination per contract
                                          ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.5     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                                        1
                                                                                                                                              page 1 of ___
           Case 16-81243-TLS                   Doc 103 Filed 09/02/16 Entered 09/02/16 15:12:20                                        Desc Main
                                                      Document    Page 20 of 34
 Fill in this information to identify the case:

                 Planet Merchant Processing, Inc.
 Debtor name __________________________________________________________________


                                                                               Nebraska
 United States Bankruptcy Court for the:_______________________ District of ________
                                                                               (State)
 Case number (If known):     16-81243
                            _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                                    12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
       x
          No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
          Yes

 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:

 2.1     _____________________        ________________________________________________________             _____________________              D                   
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State              ZIP Code

                                                                                                                                                                   
 2.2
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State              ZIP Code
                                                                                                                                                                   
 2.3
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State              ZIP Code
                                                                                                                                                                   
 2.4
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State              ZIP Code
                                                                                                                                                                   
 2.5
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State              ZIP Code
                                                                                                                                                                   
 2.6
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State              ZIP Code




Official Form 206H                                               Schedule H: Codebtors                                                                   1
                                                                                                                                               page 1 of ___
         Case 16-81243-TLS                   Doc 103 Filed 09/02/16 Entered 09/02/16 15:12:20                                      Desc Main
                                                    Document    Page 21 of 34

Fill in this information to identify the case:

                Planet Merchant Processing, Inc.
Debtor name __________________________________________________________________

                                                                               Nebraska
United States Bankruptcy Court for the: ______________________ District of _________
                                                                              (State)
Case number (If known):      16-81243
                          ________________________                                                 ___________________________________________



                                                                                                                                      Check if this is an
                                                                                                                                         amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                    04/16

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

        None

            Identify the beginning and ending dates of the debtor’s fiscal year, which        Sources of revenue                   Gross revenue
            may be a calendar year                                                            Check all that apply                 (before deductions and
                                                                                                                                   exclusions)

                                                    1/1/2016                                   X Operating a business
                                                                                               
           From the beginning of the
                                                                                                                                       2,138,135
           fiscal year to filing date:     From ___________
                                                  MM / DD / YYYY
                                                                    to     Filing date          Other _______________________      $________________

                                                    1/1/2015                12/31/2015                                                 3,507,943
           For prior year:                 From ___________         to     ___________         X
                                                                                                  Operating a business
                                                                                                                                    $________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                  Other _______________________
                                                 1/1/2014                   12/31/2014
           For the year before that:       From ___________         to     ___________         X Operating a business
                                                                                                                                     4,508,361
                                                                                                                                    $________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                Other _______________________


 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

     X
        None

                                                                                              Description of sources of revenue    Gross revenue from each
                                                                                                                                   source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

           From the beginning of the
                                                                                              ___________________________          $________________
           fiscal year to filing date: From ___________             to      Filing date
                                                  MM / DD / YYYY



           For prior year:                 From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________          $________________



           For the year before that:       From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________          $________________




 Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 1
            Case 16-81243-TLS                 Doc 103 Filed 09/02/16 Entered 09/02/16 15:12:20 Desc Main
                                                         Document           Page 22 of 34
Debtor
                      Planet Merchant Processing, Inc.
                    _______________________________________________________
                                                                                                                16-81243
                                                                                      Case number (if known)_____________________________________
                    Name




 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be
    adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None

             Creditor’s name and address                         Dates        Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.
                Planet Group, Inc.
             __________________________________________
                                                                various
                                                                ________
                                                                                  649,991.26
                                                                               $_________________                Secured debt
             Creditor’s name
                                                                                                            X
                                                                                                                 Unsecured loan repayments
               407 North 117th Street
             __________________________________________
             Street                                             ________                                         Suppliers or vendors
             __________________________________________                                                          Services
               Omaha                   NE            68154
             __________________________________________         ________                                         Other _______________________________
             City                          State    ZIP Code
              
     3.2.

             __________________________________________         ________       $_________________                Secured debt
             Creditor’s name
                                                                                                                 Unsecured loan repayments
             __________________________________________
             Street                                             ________                                         Suppliers or vendors
             __________________________________________                                                          Services
             __________________________________________
             City                          State    ZIP Code
                                                                ________                                         Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $6,425. (This amount may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
    general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
    the debtor. 11 U.S.C. § 101(31).

           None

             Insider’s name and address                          Dates        Total amount or value         Reasons for payment or transfer
     4.1.
              Planet Group, Inc.                               various         2,880,868.70                 loan repayments
             __________________________________________        _________     $__________________          ___________________________________________
             Insider’s name
                407 North 117th Street
             __________________________________________        _________                                  ___________________________________________
             Street
             __________________________________________        _________                                  ___________________________________________
             Omaha                          NE      68154
             __________________________________________
             City                          State    ZIP Code


             Relationship to debtor

             sole shareholder of Debtor
     4.2.    __________________________________________

             __________________________________________        _________     $__________________          ___________________________________________
             Insider’s name
             __________________________________________        _________                                  ___________________________________________
             Street
             __________________________________________        _________                                  ___________________________________________
             __________________________________________
             City                          State    ZIP Code



             Relationship to debtor

             __________________________________________



Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                           page 2
            Case 16-81243-TLS                 Doc 103 Filed 09/02/16 Entered 09/02/16 15:12:20 Desc Main
                                                         Document           Page 23 of 34
Debtor                Planet Merchant Processing, Inc.
                    _______________________________________________________                                   16-81243
                                                                                      Case number (if known)_____________________________________
                    Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     X
           None
            Creditor’s name and address                             Description of the property                                 Date                Value of property
     5.1.

            __________________________________________              ___________________________________________                 ______________      $___________
            Creditor’s name
            __________________________________________              ___________________________________________
            Street
            __________________________________________              ___________________________________________
            __________________________________________
            City                          State       ZIP Code

     5.2.

            __________________________________________              ___________________________________________                 _______________       $___________
            Creditor’s name
            __________________________________________              ___________________________________________
            Street
            __________________________________________              ___________________________________________
            __________________________________________
            City                          State       ZIP Code


 6. Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
    X
           None
             Creditor’s name and address                              Description of the action creditor took                   Date action was        Amount
                                                                                                                                taken

             __________________________________________             ___________________________________________               _______________       $___________
             Creditor’s name
             __________________________________________             ___________________________________________
             Street
             __________________________________________
             __________________________________________             Last 4 digits of account number: XXXX– __ __ __ __
             City                          State       ZIP Code


  Part 3:          Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

     X
           None
             Case title                                   Nature of case                           Court or agency’s name and address                Status of case

     7.1.
             _________________________________            ______________________________          __________________________________________            Pending
                                                                                                  Name
                                                                                                                                                        On appeal
                                                                                                  __________________________________________
             Case number                                                                          Street                                                Concluded
                                                                                                  __________________________________________
             _________________________________                                                    __________________________________________
                                                                                                  City                State              ZIP Code
              

             Case title                                                                             Court or agency’s name and address
                                                                                                                                                        Pending
     7.2.
             _________________________________            ______________________________          __________________________________________            On appeal
                                                                                                  Name

             Case number                                                                          __________________________________________
                                                                                                                                                        Concluded
                                                                                                  Street
                                                                                                  __________________________________________
             _________________________________
                                                                                                  __________________________________________
                                                                                                  City                        State      ZIP Code


Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 3
            Case 16-81243-TLS                  Doc 103 Filed 09/02/16 Entered 09/02/16 15:12:20 Desc Main
                                                          Document           Page 24 of 34
Debtor
                        Planet Merchant Processing, Inc.
                     _______________________________________________________
                                                                                                                  16-81243
                                                                                       Case number (if known)_____________________________________
                     Name




 8. Assignments and receivership

     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     X
           None
              Custodian’s name and address                          Description of the property                        Value

             __________________________________________             ______________________________________             $_____________
             Custodian’s name
                                                                    Case title                                         Court name and address
             __________________________________________
             Street
                                                                   ______________________________________            __________________________________________
             __________________________________________                                                              Name
             __________________________________________             Case number                                      __________________________________________
             City                          State       ZIP Code                                                      Street
                                                                   ______________________________________            __________________________________________
                                                                    Date of order or assignment                      __________________________________________
                                                                                                                     City                 State               ZIP Code

                                                                   ______________________________________

 Part 4:           Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     X
           None
             Recipient’s name and address                           Description of the gifts or contributions                   Dates given           Value


            __________________________________________              ___________________________________________                 _________________   $__________
     9.1.
            Recipient’s name
            __________________________________________              ___________________________________________
            Street
            __________________________________________
            __________________________________________
            City                          State       ZIP Code


              Recipient’s relationship to debtor
              __________________________________________


            __________________________________________              ___________________________________________                 _________________   $__________
     9.2. Recipient’s name

            __________________________________________              ___________________________________________
            Street
            __________________________________________
            __________________________________________
            City                          State       ZIP Code

              Recipient’s relationship to debtor
              __________________________________________


 Part 5:           Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
     X
           None
             Description of the property lost and how the loss      Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                               If you have received payments to cover the loss, for                            lost
                                                                    example, from insurance, government compensation, or
                                                                    tort liability, list the total received.
                                                                    List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                    Assets – Real and Personal Property).


             ___________________________________________            ___________________________________________                 _________________   $__________
             ___________________________________________


Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 4
           Case 16-81243-TLS                 Doc 103 Filed 09/02/16 Entered 09/02/16 15:12:20 Desc Main
                                                        Document           Page 25 of 34
Debtor
                     Planet Merchant Processing, Inc.
                   _______________________________________________________
                                                                                                              16-81243
                                                                                     Case number (if known)_____________________________________
                   Name




 Part 6:       Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

          None

            Who was paid or who received the transfer?        If not money, describe any property transferred          Dates               Total amount or
                                                                                                                                           value
           McGill Gotsdiner Workman & Lepp PC LLO
   11.1.
            __________________________________________
                                                              ___________________________________________               8/15/16;
                                                                                                                       ______________         46,737.00,
                                                                                                                                            $_________
            Address                                                                                                     8/16/16               which includes
           11404 West Dodge Road, Suite 500                   ___________________________________________
                                                                                                                                              Debtor's
            __________________________________________
            Street                                                                                                                            retainer
            __________________________________________
             Omaha                       NE 68154
            __________________________________________
            City                        State      ZIP Code


            Email or website address
            mgwl.com
            _________________________________

            Who made the payment, if not debtor?


            __________________________________________


            Who was paid or who received the transfer?        If not money, describe any property transferred          Dates               Total amount or
                                                                                                                                           value


   11.2.    __________________________________________        ___________________________________________
                                                                                                                       ______________       $_________
            Address                                           ___________________________________________
            __________________________________________
            Street
            __________________________________________
            __________________________________________
            City                        State      ZIP Code

            Email or website address
            __________________________________________


            Who made the payment, if not debtor?

            __________________________________________


 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.
     X
          None

            Name of trust or device                           Describe any property transferred                         Dates transfers     Total amount or
                                                                                                                        were made           value


            __________________________________________        ___________________________________________               ______________      $_________

            Trustee                                           ___________________________________________
            __________________________________________




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            page 5
           Case 16-81243-TLS                 Doc 103 Filed 09/02/16 Entered 09/02/16 15:12:20 Desc Main
                                                        Document           Page 26 of 34
Debtor                Planet Merchant Processing, Inc.
                   _______________________________________________________
                                                                                                             16-81243
                                                                                     Case number (if known)_____________________________________
                   Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

     X
          None

            Who received transfer?                               Description of property transferred or payments received   Date transfer      Total amount or
                                                                 or debts paid in exchange                                  was made           value



   13.1.    __________________________________________           ___________________________________________                ________________    $_________

                                                                 ___________________________________________
            Address
            __________________________________________
            Street
            __________________________________________
            __________________________________________
            City                        State     ZIP Code


            Relationship to debtor

            __________________________________________




            Who received transfer?
                                                                 ___________________________________________                ________________    $_________

   13.2.    __________________________________________           ___________________________________________

            Address
            __________________________________________
            Street
            __________________________________________
            __________________________________________
            City                        State     ZIP Code


            Relationship to debtor

            __________________________________________



 Part 7:       Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
    X
          Does not apply
            Address                                                                                              Dates of occupancy


   14.1.    _______________________________________________________________________                              From       ____________       To   ____________
            Street
            _______________________________________________________________________
            _______________________________________________________________________
            City                                             State         ZIP Code


   14.2.    _______________________________________________________________________                              From       ____________       To   ____________
            Street
            _______________________________________________________________________
            _______________________________________________________________________
            City                                             State         ZIP Code


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 6
           Case 16-81243-TLS                 Doc 103 Filed 09/02/16 Entered 09/02/16 15:12:20 Desc Main
                                                        Document           Page 27 of 34
Debtor              Planet Merchant Processing, Inc.
                   _______________________________________________________                                   16-81243
                                                                                     Case number (if known)_____________________________________
                   Name




 Part 8:           Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

     X
          No. Go to Part 9.
          Yes. Fill in the information below.
            Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                               debtor provides                                                             and housing, number of
                                                                                                                                           patients in debtor’s care

   15.1.    ________________________________________           ___________________________________________________________                 ____________________
            Facility name
                                                               ____________________________________________________________
            ________________________________________
            Street                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                               address). If electronic, identify any service provider.
            ________________________________________
                                                                                                                                           Check all that apply:
                                                               ____________________________________________________________
            ________________________________________
            City                     State       ZIP Code      ____________________________________________________________
                                                                                                                                            Electronically
                                                                                                                                           Paper

            Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                               debtor provides                                                             and housing, number of
                                                                                                                                           patients in debtor’s care

   15.2.    ________________________________________           ___________________________________________________________                 ____________________
            Facility name
                                                               ___________________________________________________________
            ________________________________________
            Street                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                               address). If electronic, identify any service provider.
            ________________________________________
                                                                                                                                           Check all that apply:
                                                               ____________________________________________________________
            ________________________________________
            City                     State       ZIP Code      ____________________________________________________________
                                                                                                                                            Electronically
                                                                                                                                           Paper

 Part 9:           Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

     X
          No.
          Yes. State the nature of the information collected and retained. ___________________________________________________________________
                   Does the debtor have a privacy policy about that information?
                
                     No
                     Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

     No. Go to Part 10.
    X* Yes. Does the debtor serve as plan administrator? *employees providing services to Debtor are
           X No. Go to Part 10.
                                                        participants in 401k plan
             Yes. Fill in below:
                          Name of plan                                                                           Employer identification number of the plan

                          _______________________________________________________________________                EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___

                      Has the plan been terminated?
                           No
                           Yes



Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
           Case 16-81243-TLS                 Doc 103 Filed 09/02/16 Entered 09/02/16 15:12:20 Desc Main
                                                        Document           Page 28 of 34
Debtor
                     Planet Merchant Processing, Inc.
                   _______________________________________________________
                                                                                                              16-81243
                                                                                     Case number (if known)_____________________________________
                   Name




 Part 10:          Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

          None
            Financial institution name and address         Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.
             First National Bank
             ______________________________________              1 ___
                                                                    1 ___
                                                                        9 ___
                                                                           4               XChecking
                                                                                                                       10/14/2015
                                                                                                                       ___________________         129.99
                                                           XXXX–___                                                                             $__________
                                                                                            Savings
            Name
            ______________________________________
            Street                                                                          Money market
            ______________________________________
                                                                                            Brokerage
              Omaha               NE        68154
            ______________________________________
            City                  State       ZIP Code                                      Other______________

   18.2.     ______________________________________        XXXX–___ ___ ___ ___            Checking                  ___________________      $__________
            Name
                                                                                            Savings
            ______________________________________
            Street                                                                          Money market
            ______________________________________
                                                                                            Brokerage
            ______________________________________
            City                  State       ZIP Code                                      Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

      X None
              Depository institution name and address      Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

             ______________________________________       __________________________________          __________________________________                 No
            Name
                                                          __________________________________          __________________________________
                                                                                                                                                         Yes
            ______________________________________
            Street                                        __________________________________          __________________________________             
            ______________________________________
            ______________________________________         Address
                                                                                                                                                     
            City                  State       ZIP Code
                                                          ____________________________________

                                                          ____________________________________

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

    X
          None

              Facility name and address                    Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                                                                                                                       No
             ______________________________________
            Name
                                                          __________________________________          __________________________________
                                                                                                                                                       Yes
            ______________________________________
                                                          __________________________________          __________________________________              
            Street                                        __________________________________          __________________________________
            ______________________________________
            ______________________________________          Address                                                                                   
            City                  State       ZIP Code
                                                           ________________________________

                                                           _________________________________



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 8
         Case 16-81243-TLS                 Doc 103 Filed 09/02/16 Entered 09/02/16 15:12:20 Desc Main
                                                      Document           Page 29 of 34
Debtor
                    Planet Merchant Processing, Inc.
                 _______________________________________________________                                     16-81243
                                                                                   Case number (if known)_____________________________________
                 Name




 Part 11:        Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

     X
        None

          Owner’s name and address                              Location of the property              Description of the property                 Value

                                                                                                                                                  $_______
          ______________________________________                __________________________________    __________________________________
          Name
                                                                __________________________________    __________________________________
          ______________________________________
          Street                                                __________________________________    __________________________________
          ______________________________________
          ______________________________________
          City                  State         ZIP Code




 Part 12:        Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


    X
        No
        Yes. Provide details below.
          Case title                                     Court or agency name and address             Nature of the case                      Status of case

          _________________________________
                                                         _____________________________________        __________________________________         Pending
          Case number                                    Name
                                                                                                      __________________________________
                                                                                                                                                 On appeal

          _________________________________
                                                         _____________________________________
                                                         Street
                                                                                                                                                 Concluded
                                                                                                      __________________________________
                                                         _____________________________________                                                
                                                         _____________________________________
                                                         City                    State     ZIP Code




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     X
        No
        Yes. Provide details below.

         Site name and address                           Governmental unit name and address           Environmental law, if known            Date of notice


          __________________________________             _____________________________________        __________________________________      __________
          Name                                           Name
                                                                                                      __________________________________
          __________________________________             _____________________________________
          Street                                         Street                                       __________________________________
          __________________________________             _____________________________________
          __________________________________             _____________________________________
          City                  State    ZIP Code        City                   State      ZIP Code




Official Form 207                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 9
           Case 16-81243-TLS                 Doc 103 Filed 09/02/16 Entered 09/02/16 15:12:20 Desc Main
                                                        Document           Page 30 of 34
Debtor              Planet Merchant Processing, Inc.
                   _______________________________________________________                                    16-81243
                                                                                     Case number (if known)_____________________________________
                   Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     X
          No
          Yes. Provide details below.

           Site name and address                      Governmental unit name and address           Environmental law, if known                Date of notice


            __________________________________        ______________________________________       __________________________________           __________
            Name                                      Name
                                                                                                   __________________________________
            __________________________________        ______________________________________
            Street                                    Street                                       __________________________________
            __________________________________        ______________________________________
            __________________________________        ______________________________________
            City                  State    ZIP Code   City                 State        ZIP Code




 Part 13:            Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.
         X None

            Business name and address                  Describe the nature of the business                  Employer Identification number
                                                                                                            Do not include Social Security number or ITIN.

                                                                                                            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
   25.1.    __________________________________         _____________________________________________
            Name                                                                                            Dates business existed
                                                       _____________________________________________
            __________________________________
            Street                                     _____________________________________________
            __________________________________                                                              From _______         To _______
            __________________________________
            City                  State    ZIP Code




            Business name and address                  Describe the nature of the business                  Employer Identification number
   25.2.                                                                                                    Do not include Social Security number or ITIN.

            __________________________________         _____________________________________________        EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Name
                                                                                                            Dates business existed
                                                       _____________________________________________
            __________________________________
            Street                                     _____________________________________________
            __________________________________                                                              From _______         To _______
            __________________________________
            City                  State    ZIP Code



            Business name and address                  Describe the nature of the business                  Employer Identification number
                                                                                                            Do not include Social Security number or ITIN.

   25.3.    __________________________________         _____________________________________________        EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Name
                                                       _____________________________________________        Dates business existed
            __________________________________
            Street                                     _____________________________________________
            __________________________________
            __________________________________
                                                                                                            From _______         To _______
            City                  State    ZIP Code




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 10
          Case 16-81243-TLS                 Doc 103 Filed 09/02/16 Entered 09/02/16 15:12:20 Desc Main
                                                       Document           Page 31 of 34
Debtor
                     Planet Merchant Processing, Inc.
                  _______________________________________________________                                    16-81243
                                                                                    Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List    all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                 None
              Name and address                                                                                Dates of service

                  Don Boston                                                                                        2006
                                                                                                              From _______           2016
                                                                                                                                 To _______
   26a.1.     __________________________________________________________________________________
                     407 N. 117th Street
              Name
              __________________________________________________________________________________
              Street

                     Omaha                                     NE                       68154
              __________________________________________________________________________________
              __________________________________________________________________________________
              City                                                State                 ZIP Code


              Name and address                                                                                Dates of service

                     David Gerheauser                                                                                2011
                                                                                                              From _______            2016
                                                                                                                                 To _______
   26a.2.     __________________________________________________________________________________
              Name
              __________________________________________________________________________________
              Street
                  407 N. 117th Street
              __________________________________________________________________________________
                  Omaha                                         NE                      68154
              __________________________________________________________________________________
              City                                                State                 ZIP Code



     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
                 None

                     Name and address                                                                         Dates of service


         26b.1.
                         Lutz & Co.                                                                                2008
                                                                                                              From _______          2016
                                                                                                                                 To _______
                     ______________________________________________________________________________
                     Name
                     ______________________________________________________________________________
                          13616 California Street, #300
                     Street


                           Omaha
                     ______________________________________________________________________ 68154
                     ______________________________________________________________________________
                                                                          NE                  _____
                     City                                             State
                                                                                             ___Code
                                                                                            ZIP


                     Name and address                                                                         Dates of service

                                                                                                              From _______       To _______
         26b.2.      ______________________________________________________________________________
                     Name
                     ______________________________________________________________________________
                     Street
                     ______________________________________________________________________________
                     ______________________________________________________________________________
                     City                                             State                 ZIP Code



     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
                 None
                     Name and address                                                                         If any books of account and records are
                                                                                                              unavailable, explain why

                            Planet Group, Inc.
         26c.1.      ______________________________________________________________________________           _________________________________________
                     Name
                            407 N. 117th Street
                     ______________________________________________________________________________
                                                                                                              _________________________________________
                     Street                                                                                   _________________________________________
                         Omaha                                 NE                         68154
                     ______________________________________________________________________________
                     ______________________________________________________________________________
                     City                                             State                 ZIP Code



Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            page 11
            Case 16-81243-TLS                  Doc 103 Filed 09/02/16 Entered 09/02/16 15:12:20 Desc Main
                                                          Document           Page 32 of 34
Debtor
                        Planet Merchant Processing, Inc.
                     _______________________________________________________                                     16-81243
                                                                                       Case number (if known)_____________________________________
                     Name




                       Name and address                                                                         If any books of account and records are
                                                                                                                unavailable, explain why


           26c.2.      ______________________________________________________________________________           _________________________________________
                       Name
                                                                                                                _________________________________________
                       ______________________________________________________________________________
                       Street                                                                                   _________________________________________
                       ______________________________________________________________________________
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code



     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

              X
                    None

                       Name and address


           26d.1.      ______________________________________________________________________________
                       Name
                       ______________________________________________________________________________
                       Street
                       ______________________________________________________________________________
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code


                       Name and address


           26d.2.      ______________________________________________________________________________
                       Name
                       ______________________________________________________________________________
                       Street
                       ______________________________________________________________________________
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     X
           No
          Yes. Give the details about the two most recent inventories.



               Name of the person who supervised the taking of the inventory                        Date of      The dollar amount and basis (cost, market, or
                                                                                                    inventory    other basis) of each inventory


              ______________________________________________________________________               _______      $___________________

               Name and address of the person who has possession of inventory records


   27.1.       ______________________________________________________________________
              Name
              ______________________________________________________________________
              Street
              ______________________________________________________________________
              ______________________________________________________________________
              City                                                     State        ZIP Code




Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 12
           Case 16-81243-TLS                 Doc 103 Filed 09/02/16 Entered 09/02/16 15:12:20 Desc Main
                                                        Document           Page 33 of 34
Debtor              Planet Merchant Processing, Inc.
                   _______________________________________________________                                    16-81243
                                                                                     Case number (if known)_____________________________________
                   Name




            Name of the person who supervised the taking of the inventory                     Date of           The dollar amount and basis (cost, market, or
                                                                                              inventory         other basis) of each inventory

            ______________________________________________________________________            _______        $___________________

            Name and address of the person who has possession of inventory records


   27.2.    ______________________________________________________________________
            Name
            ______________________________________________________________________
            Street
            ______________________________________________________________________
            ______________________________________________________________________
            City                                                    State         ZIP Code


 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.

            Name                                Address                                              Position and nature of any             % of interest, if any

                                               407  N. 117th St., Omaha, NE 68154
                                                                                                     interest
                                                                                                      Shareholder                              100
           Planet  Group, Inc.
           ____________________________        _____________________________________________         ____________________________            _______________
           Dennis   O'Brien
           ____________________________        407  N. 117th St., Omaha, NE 68154
                                               _____________________________________________
                                                                                                      Director/President
                                                                                                     ____________________________            _______________

           Thomas    O'Brien
           ____________________________
                                               407  N. 117th St., Omaha, NE 68154
                                               _____________________________________________
                                                                                                      Director /Secretary
                                                                                                     ____________________________            _______________
           David   Giles                       407  N. 117th St., Omaha, NE 68154
                                               ___________________________________________            Director
           ____________________________                                                              ____________________________            _______________

            ____________________________        _____________________________________________        ____________________________            _______________

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
     of the debtor, or shareholders in control of the debtor who no longer hold these positions?
   No
  X Yes. Identify below.
 
            Name                                Address                                               Position and nature of          Period during which
                                                                                                      any interest                    position or interest was
                                                                                                                                      held
            David   Gerheauser
            ____________________________        407 N. 117th St., Omaha, NE 68154
                                                _____________________________________________
                                                                                                        Secretary/TreasurerFrom12/15/11
                                                                                                      ______________________    _____ To 8/10/16
                                                                                                                                         _____
            Thomas Nichting
            ____________________________         407 N. 117th St., Omaha, NE 68154
                                                _____________________________________________             President
                                                                                                      ______________________         From 4/21/10
                                                                                                                                          _____ To 8/10/16
                                                                                                                                                   _____

            ____________________________        _____________________________________________         ______________________         From _____ To _____

            ____________________________        _____________________________________________         ______________________         From _____ To _____

 30. Payments, distributions, or withdrawals credited or given to insiders

     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
  X
          No
         Yes. Identify below.

            Name and address of recipient                                            Amount of money or                   Dates              Reason for
                                                                                     description and value of                                providing the value
                                                                                     property


   30.1.    ______________________________________________________________            _________________________           _____________       ____________
            Name
            ______________________________________________________________
            Street                                                                                                       _____________
            ______________________________________________________________
            ______________________________________________________________                                               _____________
            City                                     State          ZIP Code

            Relationship to debtor                                                                                       _____________

            ______________________________________________________________                                               _____________

Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 13
           Case 16-81243-TLS                        Doc 103 Filed 09/02/16 Entered 09/02/16 15:12:20                                    Desc Main
                                                           Document    Page 34 of 34
Debtor                 Planet Merchant Processing, Inc.
                     _______________________________________________________                                              16-81243
                                                                                                    Case number (if known)_____________________________________
                     Name




              Name and address of recipient
                                                                                            __________________________     _____________       ______________

   30.2       ______________________________________________________________
              Name                                                                                                         _____________
              ______________________________________________________________
              Street                                                                                                       _____________
              ______________________________________________________________
              ______________________________________________________________                                               _____________
              City                                            State      ZIP Code


              Relationship to debtor                                                                                       _____________

              ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
            No
     X
            Yes. Identify below.
              Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                          corporation
               Planet Group, Inc.
              ______________________________________________________________                                   2 ___
                                                                                                         EIN: ___ 0 – ___
                                                                                                                       3 ___
                                                                                                                          8 ___
                                                                                                                             7 ___
                                                                                                                                4 ___
                                                                                                                                   8 ___
                                                                                                                                      7 ___
                                                                                                                                         7


 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
    X
            No
            Yes. Identify below.

              Name of the pension fund                                                                    Employer Identification number of the pension fund

              ______________________________________________________________                             EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___



 Part 14:              Signature and Declaration


             WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
             connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
             18 U.S.C. §§ 152, 1341, 1519, and 3571.

             I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
             is true and correct.

             I declare under penalty of perjury that the foregoing is true and correct.

             Executed on        9/2/16
                               _________________
                                MM / DD / YYYY



               /s Dennis O'Brien
              ___________________________________________________________
                                                                                                       Dennis O'Brien
                                                                                          Printed name _________________________________________________
              Signature of individual signing on behalf of the debtor

                                                 President
              Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
         X
             No
             Yes




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                          page 14
